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     Telephone: 213.892.7900
 4   Facsimile: 213.892.7999
 5   Attorneys for Defendant General Nutrition Corp.
 6

 7

 8                                     UNITED STATES DISTRICT COURT

 9                                    NORTHERN DISTRICT OF CALIFORNIA

10

11   RICHA ARORA, RANDY CLINTON, and                      Case No.: 3:19-cv-02414-LB
     WALTER JOHNSTON, individually and on
12   behalf of all others similarly situated,             NOTICE OF APPEARANCE OF
                                                          COUNSEL BRETT N. TAYLOR AND
13                      Plaintiffs,                       SUBSTITUTION OF COUNSEL WITHIN
                                                          LAW FIRM
14           vs.
                                                          [L.R. 5-1 (c ) (2) (A-B)]
15   GENERAL NUTRITION CORPORATION and
     DOES 1-100,
16
                        Defendants.
17

18           TO THE CLERK OF COURT, ALL PARTIES AND THEIR ATTORNEYS OF

19   RECORD:

20           The undersigned counsel, pursuant to Local Rule 5-1 (c )(2)(A-B), gives notice that Brett N.

21   Taylor of Cozen O’Connor substitutes in for Andrew M. Hutchinson as counsel of record for

22   Defendant General Nutrition Corporation (“GNC”). GNC currently is represented by Cozen

23   O’Connor.

24   Dated: June 30, 2022                         COZEN O’CONNOR
25
                                                  By:    /s/ Brett N. Taylor
26                                                       Brett N. Taylor
                                                         Attorneys for Defendant
27                                                       GENERAL NUTRITION CORPORATION
28                                       1
        NOTICE OF APPEARANCE OF COUNSEL BRETT N. TAYLOR AND SUBSTITUTION OF
                             COUNSEL WITHIN LAW FIRM
     LEGAL\58515610\1
             Case 3:19-cv-02414-LB Document 90 Filed 06/30/22 Page 2 of 3



 1                                  CERTIFICATE OF SERVICE
 2           I am a resident of the State of California, over the age of eighteen years, and not
 3   a party to the within action. My business address is Cozen O’Connor, 601 South
 4   Figueroa Street, Suite 3700, Los Angeles, CA 90017.
 5           On June 30, 2022, I served the following documents: NOTICE OF
 6   APPEARANCE OF COUNSEL BRETT N. TAYLOR AND SUBSTITUTION
 7   OF COUNSEL WITHIN LAW FIRM on the interested parties in this action
 8   addressed as follows:
 9
     Laurence D. King (SBN 206423)
10   KAPLAN FOX & KILSHEIMER LLP
     1999 Harrison Street, Suite 1560
11   Oakland, California 94612
     Telephone: (415) 772-4700
12   Facsimile: (415) 772-4709
     lking@kaplanfox.com
13
     Michael R. Reese (SBN 206773)
14   Sue J. Nam (SBN 206729)
     REESE LLP
15   100 West 93rd Street, 16th Floor
     New York, New York 10025
16   Telephone: (212) 643-0500
     Facsimile: (212) 253-4272
17   mreese@reesellp.com
     snam@reesellp.com
18
     George V. Granade (SBN 316050)
19   REESE LLP
     8484 Wilshire Boulevard, Suite 515
20   Los Angeles, CA 90211
     Telephone: (310) 939-0070
21   Facsimile: (212) 253-4272
     Email: ggranade@reesellp.com
22
     Counsel for Plaintiffs Richa Arora, Randy Clinton,
23   and Walter Johnston and the Proposed Class
24
     XX (BY CM/ECF ELECTRONIC FILING) I hereby certify that I have
25
     electronically filed the document(s) listed above with the Clerk of this Court using the
26
     CM/ECF system, which will automatically send an email notification to all
27

28                                      2
       NOTICE OF APPEARANCE OF COUNSEL BRETT N. TAYLOR AND SUBSTITUTION OF
                            COUNSEL WITHIN LAW FIRM
     LEGAL\58515610\1
             Case 3:19-cv-02414-LB Document 90 Filed 06/30/22 Page 3 of 3



 1   participants in the case who are registered CM/ECF users.
 2           I declare under penalty of perjury under the laws of the United States of
 3   America that the above is true and correct.
 4           Executed on June 30, 2022, Los Angeles, California
 5
                                             /s/ Alma Rincon
 6                                                ALMA RINCON
 7

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28                                      3
       NOTICE OF APPEARANCE OF COUNSEL BRETT N. TAYLOR AND SUBSTITUTION OF
                            COUNSEL WITHIN LAW FIRM
     LEGAL\58515610\1
